Case 6:24-cv-00515-ADA       Document 10-1      Filed 12/17/24     Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            WACO DIVISION




  Data Fence LLC,                          Case No. 6:24-cv-00515-ADA

         Plaintiff,                        Patent Case

         v.                                Jury Trial Demanded

  Twilio Inc.,

         Defendant.




    ORDER GRANTING PLAINTIFF'S NOTICE OF VOLUNTARY DISMISSAL WITHOUT
                                PREJUDICE



The request to dismiss this matter without prejudice is hereby GRANTED.




SIGNED this day____ of______________ 2024.




                                          HONORABLE ALAN D ALBRIGHT
                                          UNITED STATES DISTRICT JUDGE
